The Honorable Matt Blunt Missouri Secretary of State James C. Kirkpatrick State Information Center 600 West Main Street P.O. Box 1767 Jefferson City, MO  65102
Dear Secretary Blunt:
This opinion letter is in response to your request for our review under Section 116.332, RSMo, of the sufficiency as to form of an initiative petition regarding rail passenger service amending Article IV of the Missouri Constitution by adding Section 30(D) and replaces the letter dated March 13, 2001, regarding this initiative petition.  A copy of the initiative petition that you submitted to this office on March 2, 2001, is attached for reference.
We approve the petition as to form.  However, since the Secretary of State has been given final approval or rejection authority under Section 116.332, our approval of the form of the petition does not preclude you from rejecting the petition.
Inasmuch as our review is simply for the purpose of determining sufficiency as to form, the fact that we do not reject the petition is not to be construed as a determination that the petition is sufficient as to substance.  Likewise, since our review is mandated by statute, no action we take with respect to such review should be construed as an endorsement of the petition or as the expression of any view respecting the adequacy or inadequacy of the petition generally or of the objectives of its proponents.
Very truly yours,
                                   JEREMIAH W. (JAY) NIXON Attorney General
Attachment